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                   EXHIBIT 2
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BartlitBeckLLP                                                                Sharon Desh
                                                                              Sharon.Desh@BartlitBeck.com




July 29, 2020                                                                 Courthouse Place
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VIA EMAIL                                                                     BartlitBeck.com


       Re: MDL 2804 – Privilege Challenges

Dear Special Master Cohen,

       I write regarding the parties’ discussion of outstanding privilege challenges. Plaintiffs,
simply, have engaged in a bait and switch. They encouraged Walgreens to downgrade
documents from Track One A privilege logs in reliance on Plaintiffs’ agreement that doing so
would resolve Agenda Items 232 and 253, then nevertheless brought challenges from those
agenda items – in addition to wholly new Track One A challenges – for resolution.

        This is a breach of the parties’ agreement, and Plaintiffs have unjustly benefited from
their tactic. As Walgreens has repeatedly explained, Plaintiffs waited to bring their current
privilege challenges until months or years after the Track One A fact discovery cut off, and clear
case law states that these challenges are therefore waived. The parties were nevertheless able to
reach agreement whereby Walgreens (and Plaintiffs) would agree to downgrade certain
documents if no further challenges from Track One A were brought for in camera review. That
gave both parties the benefit of additional downgraded documents, while Walgreens withheld its
waiver argument. Walgreens downgraded documents in reliance on that agreement, but
Plaintiffs have not kept up their end of the bargain.

        Plaintiffs make no effort to explain why they are not adhering to the parties’ agreement,
nor do they address the waiver argument at all. Their remaining arguments are similarly
baseless: their challenges are directly contrary to court orders that have rejected the “sword /
shield” argument. And it is Plaintiffs who have failed to comply with Court orders on
downgrading documents – not Walgreens.

        Finally, based on our recent meet and confers with Plaintiffs, Walgreens remains very
concerned about Plaintiffs’ own over-designation of privilege claims, in addition to the fact that
we appear to be missing a significant number of privilege logs from Plaintiffs. Walgreens
therefore seeks relief as outlined below relating to Plaintiffs’ over-designation, failure to follow
Court orders, and failure to complete their Track One A privilege review.

I.     Background

      In Track One A, Plaintiffs and Walgreens worked cooperatively on challenges to
Walgreens’ privilege claims. This process resulted in Walgreens independently downgrading a

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series of privilege claims. Every time that Walgreens has downgraded documents, we also
conducted a review for any documents implicating similar privilege claims and downgraded
those as well. Ex. D, 6/26/20 Desh letter to Robertson; Ex. F, 7/7/20 Desh email to Robertson;
see also 12/21/18 Hearing Tr. p. 64:9-24; 1/10/19 Hearing Tr. p. 91:17-21.

         When Plaintiffs and Walgreens disagreed about further downgrades in Track One A,
Plaintiffs filed a motion for in camera review of selected documents. That motion resulted in
Discovery Ruling No. 14, Part 4 and its Amendment in February 2019. See Dkts. 1387; 1395.
Walgreens’ privilege claims were upheld for the vast majority of Plaintiffs’ challenges. Id.
Walgreens completed its production pursuant to Discovery Ruling No. 14, Part 4 and its
Amendment, including production of similar documents, on March 1, 2019.

        On March 14, 2019, six weeks after the close of fact discovery in Track One A, Plaintiffs
purported to send Walgreens their “next round” of privilege challenges. Walgreens responded
one week later, on March 21, explaining that these challenges were untimely. Because all of the
documents (or privilege logs for withheld documents) had been in Plaintiffs’ possession for
several months, these challenges could and should have been part of Plaintiffs’ challenges
leading up to Discovery Ruling No. 14, Part 4. Walgreens nevertheless invited Plaintiffs to
explain why any of these belated challenges merited attention after the fact discovery cut off.
Ex. A, 3/21/19 Desh letter to Irpino.

         Plaintiffs never responded to Walgreens’ request. In fact, Walgreens did not hear from
Plaintiffs again on these challenges for six months, until Plaintiffs purported to put privilege
challenges on the agenda in September 2019. At no point (then or now, over a year later) have
Plaintiffs provided any explanation for why their challenges to documents produced or logged in
Track One A, but which Plaintiffs did not raise until long after the close of fact discovery, should
be considered.

II.    The parties’ recent negotiations

        Despite the fact that Plaintiffs have never responded to Walgreens’ position on their
waiver of these privilege claims, in an effort to reach a compromise, Walgreens engaged in
several meet and confers with Plaintiffs. After extended discussions, Walgreens and Plaintiffs
reached an agreement on May 29 that Plaintiffs represented would resolve all outstanding
privilege challenges. Ex. C, 5/29/20 Desh email to Cohen.

       As part of this agreement, both Walgreens and Plaintiffs agreed to downgrade certain
documents provided that the remaining privilege challenges would not be escalated for in camera
review. Ex. B, 5/21/20 Desh letter to Robertson; Ex. D, 6/26/20 Desh letter to Robertson; Ex. E,
7/1/20 Robertson email to Desh; Ex. F, 7/7/20 Desh email to Roberson. This agreement
represented a middle ground between Walgreens’ position that Plaintiffs had waived their

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outstanding privilege challenges, and Plaintiffs’ desire to engage in ongoing privilege
discussions with Walgreens. Id. The parties reserved only the right to raise good faith requests
regarding documents downgraded to privilege-redact. All other outstanding privilege challenges
from Agenda Items 252, 232, and 253 were purported to be resolved. Ex. C, 5/29/20 Desh email
to Cohen.

        In reliance on this agreement, Walgreens completed its production of privilege
downgrades (a production of close to 200 previously privileged documents with their family
members) on June 4. Ex. D, 6/26/20 Desh letter to Robertson; Ex. E, 7/1/20 Robertson email to
Desh. Although not part of the parties’ agreement, Walgreens also worked cooperatively with
Plaintiffs to answer other questions and provide additional information regarding its privilege
downgrades through June. Id. Plaintiffs even submitted new challenges to Walgreens in June
2020 – now more than a year after the fact discovery cut off. Although not required by the
parties’ agreement, Walgreens agreed to review those challenges for potential downgrades, under
the same understanding that the parties would resolve all issues cooperatively and not engage the
Special Master. Ex. D, 6/26/20 Desh letter to Robertson; Ex. E, 7/1/20 Robertson email to Desh;
Ex. F, 7/7/20 Desh email to Robertson.

        Regretfully, however, Plaintiffs have not abided by the parties’ agreement. Instead –
without warning - they brought additional challenges to documents raised in Agenda Items 232
and 253 to the Court for in camera review. Walgreens never would have agreed to engage in the
lengthy meet and confer process and produced the associated documents had Plaintiffs had been
clear that they had no intention of abiding by the parties’ agreement.

         As we have explained to Plaintiffs, in the course of our recent negotiations, Walgreens
has also uncovered systemic problems with Cuyahoga’s privilege logs. First, we are concerned
that the privilege logs we have received to date contain over-designation. Second, based on the
information we have received, it appears that large numbers of privilege logs from Cuyahoga
still have not been produced, though they were due more than a year ago. Third, it appears that
Cuyahoga has not been following the Court’s orders to downgrade documents involving similar
privilege claims – something that they incorrectly accuse Walgreens of failing to do. Walgreens
was hoping to resolve all of these issues cooperatively, but it now appears that is not possible.

                                          ARGUMENT

        In their submission, Plaintiffs attempt to present for in camera review privilege
challenges that they brought in September 2019, February 2020, and June 2020, months to years
after fact discovery closed in Track One A and Walgreens completed production of its privilege
logs. Plaintiffs have waived all of these privilege challenges. Plaintiffs’ challenges also fail on
the merits as they are a) based on previously-rejected arguments, and b) are based on factual
inaccuracies.

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I.     Plaintiffs have waived their challenges to Walgreens’ Track One A privilege claims.

        Fact discovery in Track One A closed in January 2019. Plaintiffs, however, are asking
this Court to re-open fact discovery for the purpose of bringing additional privilege challenges
months to years after that date. Re-opening fact discovery to consider privilege challenges – as
with any motion to compel – requires a showing of good cause. See United States v. Barron
Collier Co., 2015 WL 13811188, at *4 (D. Ariz. Dec. 24, 2015). Plaintiffs have plainly failed to
establish that here.

        Under Rule 16(b), district courts are required to enter scheduling orders “that limit the
parties’ time to complete discovery.” Gucci Am., Inc. v. Guess?, Inc., 790 F. Supp. 2d 136, 139
(S.D.N.Y. 2011) (citations omitted). Re-opening discovery for the purpose of a motion to
compel after the discovery period has closed requires a showing of good cause. Id. That is
because “[a] district court's case-management powers apply with particular force to the
regulation of discovery and the reconciliation of discovery disputes.” Burgos-Martinez v. City of
Worcester, 345 F. Supp. 3d 105, 106 (D. Mass. 2018) (collecting cases). “Where a party is
aware of the existence of documents or other information before the close of fact discovery and
propounds requests after the deadline has passed, those requests should be denied.” Gucci, 790
F. Supp. 2d at 140 (collecting cases). “Numerous courts . . . have found that absent special
circumstances, motions to compel discovery filed after the close of discovery are untimely.”
FedEx Corp. v. United States, No. 08-2423 MA/P, 2011 WL 2023297, at *4 (W.D. Tenn. Mar.
28, 2011) (collecting cases).

         That applies equally to privilege challenges. In Barron Collier, the Court held that good
cause was not satisfied when a party “wait[ed] almost eight months to challenge the
Government’s assertion of privilege.” 2015 WL 13811188, at *4. Instead, the Court declined to
re-open fact discovery where the challenging party could have brought the challenges “in time
for the Court to rule on the privilege before the close of discovery.” Id. Similarly, in Cardiac
Pacemakers, the Court rejected challenges that a privilege log did not sufficiently set forth the
required elements for maintaining a privilege. The Court observed that the privilege log had
been served years before, and the challenges came “far too late” when they were asserted “long
after discovery closed and just ten weeks before the long-scheduled trial.” Cardiac Pacemakers,
Inc. v. St. Jude Med., Inc., 2001 WL 699889, at *1 (S.D. Ind. Apr. 26, 2001). Other Courts
similarly acknowledge that privilege challenges must be made in a timely manner or are waived.
See, e.g., Acosta v. Min & Kim, Inc., No. CV 15-14310, 2017 WL 11317619, at *1 (E.D. Mich.
June 21, 2017) (good cause did not exist to re-open discovery where the basis for the privilege
was asserted before the fact discovery cut off).

       The requirement to adhere to Court-ordered deadlines was recently emphasized in the
Sixth Circuit’s mandamus order. In re Nat’l Prescription Opiate Litig., 956 F.3d 838, 843-44


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(6th Cir. 2020). That order emphasized that deadlines and good cause standards cannot be
ignored simply because it would be more efficient for future cases. Id.

        Plaintiffs could have brought all of their privilege challenges at issue before the close of
fact discovery and have not identified any good cause for their failure to follow this schedule. It
is notable that even though Plaintiffs knew this issue would be briefed if they attempted to
submit documents for in camera review, they have made no attempt to identify any basis at all –
much less good cause – for their failure to comply with the Court’s schedule. Nor have they
provided any legal explanation for why they should be permitted to bring privilege challenges
years after privilege logs have been submitted and fact discovery closed.

        Plaintiffs’ clear waiver of these challenges is the fundamental reason why Plaintiffs and
Walgreens both had something to gain from reaching an agreement on Agenda Items 232, 252,
and 253. The agreement represented a middle ground between Walgreens’ position that all
privilege challenges had been waived, and Plaintiffs’ desire to engage in ongoing privilege
discussions with Walgreens. Walgreens explained to Plaintiffs several times that it was holding
back its waiver argument on the express condition that Plaintiffs would agree to forego
additional untimely privilege challenges. Plaintiffs, however, have played both sides of this
issue – encouraging Walgreens to downgrade documents in reliance on that agreement, but then
walking away when the agreement no longer suited them. For the reasons stated above,
Walgreens has already provided Plaintiffs far more information than they are entitled to given
their belated privilege challenges – including Walgreens’ recent production of privilege
downgrades. The Court should reject all other privilege challenges as untimely.

        Because Plaintiffs have waived these challenges, there is no need to address them on the
merits. For the reasons explained below, however, Plaintiffs’ arguments fail there as well.

II.    Plaintiffs have mischaracterized Walgreens’ privilege review.

        Plaintiffs assert that Walgreens has “unjustly” and “inexcusably” maintained its original
privilege designations over some unspecified universe of documents. That is incorrect. As the
Court and Special Master Cohen have instructed, each time Walgreens downgrades a document
previously withheld or redacted as privileged, we review our entire privilege log and downgrade
any similar documents. Ex. D, 6/26/20 Desh letter to Robertson; Ex. F, 7/7/20 Desh email to
Robertson; see also 12/21/18 Hearing Tr. p. 64:9-24.; 1/10/19 Hearing Tr. p. 91:17-21.1
Walgreens also previously expressed a willingness to engage with Plaintiffs on an ongoing,
cooperative basis if they believed certain types of documents should be re-reviewed as a whole.


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  Plaintiffs appear to also cite to this transcript in Footnote 3 of their submission, but we think
that is in error as we are unable to locate the cited text.

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Ex. D, 6/26/20 Desh letter to Robertson; Ex. F, 7/7/20 Desh email to Robertson. But Plaintiffs
declined to do so.

        Plaintiffs have articulated no basis for the generalized assertion that Walgreens’ privilege
claims run afoul of any rulings and require intervention. Notably, when Plaintiffs previously
submitted Walgreens’ privilege claims to Special Master Cohen for in camera review, the Court
upheld the vast majority of those claims as privileged. And unlike other Defendants, Walgreens
did not use a third-party consultant to design its SOM system. As a result, Walgreens did not
categorically claim privilege over communications relating to its SOM design and evolution due
to communications with third parties or otherwise. Instead, Walgreens has produced thousands
of documents detailing every aspect of its SOM system since the earliest stages of this case.

        Plaintiffs point to a small handful of documents produced on June 4 as evidence of over-
designation. See 7/22/20 Irpino Letter Ex. A. That argument fails for two reasons. First,
Walgreens worked cooperatively with Plaintiffs downgrade these documents (in addition to any
similar documents), as explained above. Second, the substance of these documents was already
available to Plaintiffs in other, non-privileged documents produced in Track One A, including
documents that were marked in depositions. See, e.g., WAGMDL00045766;
WAGMDL00047448; WAGMDL00132147; WAGMDL00303186; WAGMDL00312091;
WAGMDL00358578; WAGMDL00407724; WAGMDL00580319; WAGMDL00060739;
WAGMDL00675680, WAGMDL00675689, WAGMDL00704545; WAGMDL00709220. In
summary, Plaintiffs have identified no factual information about Walgreens’ SOM system that
has not been produced.

        At this stage, it is unclear to Walgreens what relief Plaintiffs are seeking other than for
Walgreens to downgrade “more” documents. To the extent Plaintiffs assert there is some
problem with Walgreens’ privilege claims because we have stood by most of them, that is
baseless. Of course, Walgreens stands by the bulk of its privilege challenges; they were
correctly made – as confirmed by the high percentage of Walgreens’ privilege challenges
previously upheld by Special Master Cohen. If Plaintiffs feel that certain categories of
documents need additional attention, they should have identified them to us, as we were
expecting Plaintiffs to do as part of our cooperative agreement. Ex. D, 6/26/20 Desh letter to
Robertson; Ex. F, 7/7/20 Desh email to Robertson.

III.   The Court has already rejected Plaintiffs’ “sword / shield” argument.

        Plaintiffs’ July 22 submission also asserts that Walgreens is inappropriately using
privilege as a sword and a shield, on the one hand stating that it complied with applicable laws,
while also asserting privilege over certain other documents. Of course, the fact that a party
asserts it has complied with the law is not a subject matter waiver of attorney client privilege.
This Court has already rejected that argument:

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       Plaintiffs state defendants have made factual assertions or pled affirmative
       defenses that cannot be fairly evaluated without access to any withheld
       document that addresses the defendants’ Suspicious Order Monitoring
       Systems. Although there is Sixth Circuit authority supporting a broad
       reading of waiver, there are also numerous cases that take a more
       measured position and hold, as defendants argue, that unless the party
       asserting privilege has put the particular document at issue, it has not
       waived the privilege. The Special Master declines to follow the more
       expansive approach to waiver urged by plaintiffs in the context of these
       SOMS audits and related documents.

Dkt. 1666 at 2-3 (emphasis added) (distinguishing In re Lott, 424 F.3d 446, 454 (6th Cir. 2005);
United States v. Bilzerian, 926 F.2d 1285, 1292 (2nd Cir. 1991); In re Kidder Peabody Secs.
Litig., 168 F.R.D. 459, 470 (S.D.N.Y. 1996)).2

        Plaintiffs further argue that Walgreens’ 30(b)(6) deposition in Track One A provides
evidence that Walgreens has used privilege as a “sword” and a “shield.” But Special Master
Cohen oversaw that 30(b)(6) deposition and permitted Walgreens’ objections to questions
regarding Suspicious Order Monitoring that implicated attorney client privilege. See 7/22/20
Irpino Letter Ex. B at 1, 9-11. Plaintiffs’ time to appeal those objections and rulings has long
since passed. If Plaintiffs believed that any attorney instruction or document withheld on the
basis of privilege was inappropriate, the time to raise that was in Track One A.

         Plaintiffs’ argument essentially amounts to a statement that no party can claim privilege
over documents involving suspicious order monitoring. That is incorrect. The Special Master
has already held, including during a previous in camera review of Walgreens’ privilege claims,
that it is proper to assert attorney client privilege over such documents as long as that privilege is
narrowly tailored. The Special Master upheld the majority of Walgreens’ privilege claims on
this basis, Dkts. 1387; 1395, and has upheld privilege claims by other parties on similar grounds.
See, e.g., Dkts. 1353; 1593; 1666; 1678.

       Walgreens has produced thousands of documents and dozens – if not hundreds – of hours
of deposition testimony on the topics Plaintiffs identify in their submission. And this Court has
already rejected Plaintiffs’ sword / shield argument multiple times, both in the abstract and as



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 This argument was also previously made by Plaintiffs in Agenda Item 232. If Plaintiffs
believed that specific documents existed that merited further discussion on this topic, they should
have identified those documents in connection with the parties’ meet and confers before that
Agenda Item was resolved. They did not do so, and the parties’ resolution of this Agenda Item
moots this argument.

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applied to Walgreens’ privilege claims. Plaintiffs’ attempt to re-argue those rulings years after
they were issued should be rejected.

IV.    Plaintiffs’ specific privilege challenges to Walgreens should be rejected.

       As explained above, all of Plaintiffs’ privilege challenges at issue in their submission are
from September 2019, February 2020, or June 2020. See 7/22/20 Irpino letter at 6. In other
words, these challenges came months to years after Walgreens’ privilege logs were submitted
and fact discovery closed. All of Plaintiffs’ outstanding challenges were resolved via the parties’
agreement and Walgreens’ document production in June 2020. Any further challenges are
waived, and any attempt to re-argue orders of this Court should be denied.

       Plaintiffs’ challenges also fail on their merits as shown from Walgreens’ privilege log and
as further explained directly to Plaintiffs’ counsel in multiple meet and confers, which spanned
several hours and involved the parties reviewing the documents closely in seriatim. See, e.g., Ex.
E, 7/1/20 Robertson email to Desh. As Walgreens explained to Plaintiffs in its privilege logs and
multiple follow up conversations, Plaintiffs’ challenges to communications with in house and
outside counsel seeking and rendering legal advice are properly privileged under any standard.

V.     Plaintiffs have recently shown structural problems with their own Track One A
       review.

         The parties’ discussions regarding Agenda Items 232, 252, and 253 not only involved
Plaintiffs’ challenges to Walgreens – they also involved Walgreens’ challenges to Plaintiffs.
While Walgreens received privilege downgrades from Plaintiffs consistent with the parties’
discussions, the meet and confer process revealed other fundamental problems with Plaintiffs’
privilege review. Walgreens has attempted to meet and confer with Plaintiffs on these issues for
more than a month but has not received any response on Plaintiffs’ issues. Ex. D, 6/26/20 Desh
letter to Robertson. Walgreens has repeatedly explained to Plaintiffs that any attempt to brief
privilege disputes would require us to bring these issues to the Special Master’s attention. Id.
However, Plaintiffs once again make no effort in their submission to respond to Walgreens’
challenges, which we re-state below.

        First, out of the 1,000 sample privilege challenges that Walgreens was able to submit to
Plaintiffs based on Cuyahoga privilege logs that we have received to date, Plaintiffs agreed that
approximately half of the documents were not privileged and should be produced. Ex. B,
5/21/20 Desh letter to Robertson. This raises concerns about over-designation throughout the
remainder of Plaintiffs’ logged documents, not to mention the documents for which no log was
provided.




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        Second, we are very concerned that a significant number of Cuyahoga County privilege
logs from Track One A remain missing. According to our records Cuyahoga has not provided a
privilege log for custodians Caraffi, Kochevar, Delos Reyes, Gray, Kippes, or Corraro, who
together had custodial file productions of more than 14,000 documents. Cuyahoga has also not
provided a privilege log from any of its centralized files, which comprise millions of documents.
Ex. D, 6/26/20 Desh letter to Robertson. Cuyahoga should be ordered to provide these privilege
logs to Defendants or confirm that no privilege review was conducted on these documents.

        Third, based on our review, Cuyahoga recently downgraded documents specifically
identified by Walgreens but did not search their production for other similar documents to
downgrade. We are therefore concerned that Cuyahoga is not following the Court’s orders to
apply downgrade decisions to other, similar documents. Cuyahoga should confirm whether they
have followed the process required by the Court, and, if not, be ordered to do so not only with
respect to the parties’ recent challenges, but also any other downgrades they have made through
Track One A.

        In summary, Walgreens has reason to believe that we did not receive from Plaintiffs a full
accounting of their privilege claims in Track One. Therefore, we request that Plaintiffs be
ordered to provide the privilege logs referenced above (or confirm that no such privilege logs
exist) and that Plaintiffs be ordered to describe whether they are engaging in the Court-ordered
process of searching their privilege logs for similar documents to downgrade. We can then better
understand the nature of the over-designation problem we are observe.

        We are also attaching to this submission additional challenges reflecting the deficiencies
in Cuyahoga’s privilege logs from Track One A. Ex. G, Cuyahoga Privilege Log Challenges. If
the Court decides to move forward with additional in-camera review, we will submit a selection
of them for that purpose. For the reasons stated above, however, we believe the case law on that
issue is settled.

                                                 Thank you,



                                                 Sharon Desh




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